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                                                                          6                        IN THE UNITED STATES DISTRICT COURT
                                                                          7                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                              In re: CATHODE RAY TUBE (CRT)   )          Case No. C 07-5944 SC
                                                                          9   ANTITRUST LITIGATION            )
                                                                                                              )          MDL No. 1917
                                                                         10   This Document Relates to:       )
                               For the Northern District of California
United States District Court




                                                                                                              )          ORDER GRANTING TOSHIBA'S MOTION
                                                                         11   Sharp Electronics Corp. v.      )          TO DISMISS SHARP'S FIRST
                                                                              Hitachi Ltd., No. 12-cv-1173-SC )          AMENDED COMPLAINT
                                                                         12                                   )
                                                                                                              )
                                                                         13                                   )
                                                                                                              )
                                                                         14                                   )
                                                                         15
                                                                         16   I.      INTRODUCTION
                                                                         17           Now before the Court is Toshiba's 1 motion to dismiss Sharp's
                                                                         18   first amended complaint. 2       ECF No. 2030 ("FAC") (filed under seal).
                                                                         19   The motion is fully briefed.         ECF Nos. 2000 ("MTD"), 2195
                                                                         20   ("Opp'n"), 2229 ("Reply"). 3        The Court finds it appropriate for
                                                                         21   1
                                                                                The Toshiba Defendants are Toshiba Corporation, Toshiba America
                                                                         22   Information Systems, Inc., and Toshiba America Electronic
                                                                              Components, Inc.
                                                                         23   2
                                                                                "Sharp" and "Plaintiffs" collectively refers to Plaintiffs Sharp
                                                                         24   Electronics Corporation and Sharp Electronics Manufacturing of
                                                                              America, Inc. Toshiba's motion first referred to Sharp's original
                                                                         25   complaint, but the parties stipulated that all briefing would refer
                                                                              to the FAC.
                                                                         26   3
                                                                                Toshiba amended its motion, with the Court's leave, to accord
                                                                         27   with the Supreme Court's ruling that procedural motions to dismiss
                                                                              complaints based on forum-selection clauses are to be based on the
                                                                         28   doctrine of forum non conveniens and Rule 12(b)(6) of the Federal
                                                                              Rules of Civil Procedure -- not, per prior Ninth Circuit procedure,
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                                                                          1   resolution without oral argument, Civ. L.R. 7-1(b), and GRANTS it.
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                                                                          4 II.    BACKGROUND
                                                                          5        The parties are familiar with the general facts of this case,
                                                                          6   which is an antitrust action concerning the alleged price-fixing of
                                                                          7   cathode-ray tubes ("CRTs").      A brief factual summary relevant to
                                                                          8   the instant motion follows.
                                                                          9        Plaintiff Sharp Electronics Corporation is based in New
                                                                         10   Jersey, and Plaintiff Sharp Electronics Manufacturing Company of
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                                                                         11   America, Inc. is based in California.        They allege that Toshiba
                                                                         12   manufactured, marketed, sold, or distributed CRT Products in the
                                                                         13   United States, either directly or through subsidiaries or
                                                                         14   affiliates.   Plaintiffs allege that Toshiba participated in an
                                                                         15   international conspiracy to fix the prices of CRTs.          Plaintiffs
                                                                         16   state that they bought price-fixed CRT Products "directly from
                                                                         17   Defendants and co-conspirators, and/or Defendants' and co-
                                                                         18   conspirators' subsidiaries and affiliates, and/or any agents
                                                                         19   controlled by Defendants, Defendants' subsidiaries and affiliates,
                                                                         20   co-conspirators or co-conspirators' affiliates," as well as from
                                                                         21   original equipment manufacturers ("OEMs") and other suppliers.
                                                                         22        The two parties' Japan-based parent corporations -- Tokyo
                                                                         23   Shibaura Electric Corporation and Sharp Corporation -- entered an
                                                                         24   agreement, the "Basic Transaction Agreement" or "BTA," that is
                                                                         25   crucial to this dispute.      MTD Attach. 3 ("BTA") (filed under
                                                                         26
                                                                              Rule 12(b)(3). Sharp filed a response to this amended motion,
                                                                         27   adding some detail to their opposition. ECF No. 2292. Toshiba
                                                                              then filed another supplemental reply to their brief, again with
                                                                         28   the Court's leave, ECF No. 2336, and Sharp responded to that as
                                                                              well. ECF No. 2352.


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                                                                          1   seal). 4    Under the BTA, Sharp Corporation is "Party A," and Tokyo
                                                                          2   Shibaura is "Party B."        Id. Preamble & Art. 1(2).       The BTA
                                                                          3   expressly applies to all "individual Agreements" between Parties A
                                                                          4   and B, "to the extent that there is no special Agreement."              Id.
                                                                          5   Art. 1(2).      The BTA includes a short forum-selection clause: "In
                                                                          6   terms of litigation related to this Agreement or the individual
                                                                          7   Agreement, the Osaka District Court shall be the court of competent
                                                                          8   jurisdiction."       Id. Art. 21(2).
                                                                          9           Toshiba now moves to dismiss this action, arguing that the
                                                                         10   BTA's forum-selection clause requires this action to be litigated
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                                                                         11   in Japan.
                                                                         12
                                                                         13   III. DISCUSSION
                                                                         14           Toshiba originally brought its motion to dismiss under Rule
                                                                         15   12(b)(3) -- improper venue -- but has amended its motion to dismiss
                                                                         16   to rely on Rule 12(b)(6) and the doctrine of forum non conveniens
                                                                         17   instead, comporting with a recent Supreme Court holding that Rule
                                                                         18   12(b)(3) is not the proper mechanism for enforcing a forum-
                                                                         19   selection clause.       See Atl. Marine Const. Co., Inc. v. U.S. Dist.
                                                                         20   Ct. for W. Dist. of Tex., 134 S. Ct. 568, 580 (2013).              Atlantic
                                                                         21   Marine held that 28 U.S.C. § 1404(a) 5 and the forum non conveniens
                                                                         22   doctrine provide appropriate mechanisms for enforcing forum-
                                                                         23   selection clauses.        Neither party's substantive arguments changed
                                                                         24
                                                                              4
                                                                         25     While the BTA and its certified translation filed under seal, the
                                                                              parties frequently quote it in their unsealed papers. The Court
                                                                         26   likewise disregards the seal.
                                                                              5
                                                                         27     "Section 1404(a) is merely a codification of the dotrine of forum
                                                                              non conveniens for the subset of cases in which the transferee
                                                                         28   forum is within the federal court system." Atl. Marine, 134 S. Ct.
                                                                              at 580.


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                                                                          1   pursuant to this amendment.      Since this case does not involve a
                                                                          2   transferee forum within the federal court system -- the putative
                                                                          3   transferee court is in Japan -- section 1404(a) does not apply
                                                                          4   here, so Toshiba's motion can only be based on forum non conveniens
                                                                          5   doctrine concerning forum-selection clauses.         Absent further
                                                                          6   guidance, the Court continues to apply the Ninth Circuit's standard
                                                                          7   of review from Rule 12(b)(3) cases on this motion, drawing
                                                                          8   reasonable inferences and resolving factual conflicts in favor of
                                                                          9   the non-movant, but not necessarily accepting the non-movant's
                                                                         10   pleadings as true, and also considering facts outside the
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                                                                         11   pleadings.    Petersen v. Boeing Co., 715 F.3d 276, 279 (9th Cir.
                                                                         12   2013).
                                                                         13        In diversity cases, federal courts apply federal law in
                                                                         14   determining the enforceability of forum-selection clauses.
                                                                         15   Manetti-Farrow, Inc. v. Gucci Am., Inc., 858 F.2d 509, 513 (9th
                                                                         16   Cir. 1988).   Contractual forum-selection clauses are prima facie
                                                                         17   valid and therefore enforceable absent a strong showing that
                                                                         18   "enforcement would be unreasonable or unjust, or that the clause
                                                                         19   [is] invalid for such reasons as fraud or overreaching."            M/S
                                                                         20   Bremen v. Zapata Off-Shore Co., 407 U.S. 1, 10, 15 (1972).            "The
                                                                         21   party seeking to avoid the forum-selection clause bears 'a heavy
                                                                         22   burden of proof.'"     Richards v. Lloyd's of London, 135 F.3d 1289,
                                                                         23   1294 (9th Cir. 1988) (en banc) (quoting Bremen, 407 U.S. at 17).
                                                                         24   The policy of enforcing forum-selection clauses remains strong in
                                                                         25   the international commercial context: as the Ninth Circuit has
                                                                         26   stated, "[t]he expansion of American business and industry will
                                                                         27   hardly be encouraged if, notwithstanding solemn contracts, we
                                                                         28   insist on a parochial concept that all disputes must be resolved



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                                                                          1   under our laws and in our courts."        TAAG Linhas Aereas de Angola v.
                                                                          2   Transamerica Airlines, Inc., 915 F.2d 1351, 1354 (9th Cir. 1990).
                                                                          3          Federal courts have recognized three grounds for declining
                                                                          4   to enforce a forum-selection clause: (1) if the inclusion of the
                                                                          5   clause in the contract was the result of "fraud or overreaching";
                                                                          6   (2) if the party seeking to avoid the clause would be effectively
                                                                          7   deprived of its day in court in the forum specified in the clause;
                                                                          8   or (3) if enforcement would contravene a strong public policy of
                                                                          9   the forum in which the suit is brought.        Murphy v. Schneider Nat'l,
                                                                         10   Inc., 362 F.3d 1133, 1140 (9th Cir. 2004).
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                                                                         11        Sharp contends that the forum-selection clause in the BTA
                                                                         12   neither governs the present dispute nor mandates dismissal for any
                                                                         13   reason, because (1) the two Sharp Plaintiffs are not parties to or
                                                                         14   bound by the BTA, (2) the Sharp Plaintiffs' claims do not relate to
                                                                         15   the BTA, and (3) enforcing the BTA's forum-selection clause would
                                                                         16   violate public policy.
                                                                         17        Sharp is wrong on all counts.        Sharp first contends that the
                                                                         18   two Sharp Plaintiffs are not parties to the BTA, and that "[i]t
                                                                         19   goes without saying that a contract cannot bind a nonparty."         Opp'n
                                                                         20   at 5-6 (quoting EEOC v. Waffle House, Inc., 534 U.S. 279, 294
                                                                         21   (2002)).   Sharp argues that the face of the BTA proves that it was
                                                                         22   not intended to bind any non-signatories, because only Sharp
                                                                         23   Corporation and Tokyo Shibaura -- not subsidiaries or affiliates --
                                                                         24   are listed in the preamble.      Id. (citing GECCMC 2005-C1 Plummer St.
                                                                         25   Office Ltd. P'ship v. JPMorgan Chase Bank, N.A., 671 F.3d 1027,
                                                                         26   1033 (9th Cir. 2012); Klamath Water Users Protective Ass'n v.
                                                                         27   Patterson, 204 F.3d 1206, 1210 (9th Cir. 1999)).          Sharp also seeks
                                                                         28   to support its argument with a secondary source, the deposition of



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                                                                          1   a Sharp Corporation employee, but because the parties agree that
                                                                          2   the BTA is not ambiguous, the Court need not and cannot evaluate
                                                                          3   that evidence.    Pierce Cnty. Hotel Emps. & Rest. Emps. Health Trust
                                                                          4   v. Elks Lodge, B.P.O.E. No. 1450, 827 F.2d 1324, 1327 (9th Cir.
                                                                          5   1987) (extrinsic evidence is inadmissible to contradict clear
                                                                          6   contract terms).
                                                                          7        Sharp's authority is inapposite: the Ninth Circuit recognizes
                                                                          8   the quotation from EEOC v. Waffle House, Inc. as dicta, noting that
                                                                          9   if taken literally it would "jettison hundreds of years of common
                                                                         10   law under which nonparties can be contractually liable under
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                                                                         11   ordinary contract and agency principles."         Comer v. Micor, Inc.,
                                                                         12   436 F.3d 1098, 1104 n.10 (9th Cir. 2006) (Kozinski, J.).            Sharp's
                                                                         13   other authority concerns third-party beneficiary doctrine, which is
                                                                         14   different from the present situation in that the parties' intent to
                                                                         15   cover non-signatories is the central question.         See Klamath Water
                                                                         16   Users, 204 F.3d at 1210 (discussing third-party beneficiary
                                                                         17   doctrine).   Rather, on the face of the BTA, Tokyo Shibaura and
                                                                         18   Sharp Corporation explicitly agree to handle all litigation related
                                                                         19   to the BTA, which includes individual Agreements (and purchase
                                                                         20   orders), in Osaka District Court.         BTA Art. 21(2).   In this case,
                                                                         21   the Ninth Circuit has held that forum-selection clauses will apply
                                                                         22   to non-signatories "where the alleged conduct of the non-parties is
                                                                         23   closely related to the contractual relationship."           Holland Am.
                                                                         24   Line, Inc. v. Wartsila N. Am., Inc., 485 F.3d 450, 456 (9th Cir.
                                                                         25   2007).   In this case, because any relationship between the Sharp
                                                                         26   Plaintiffs and Toshiba took place "as part of the larger
                                                                         27   contractual relationship" between the two parent companies, the BTA
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                                                                          1   and its forum-selection clause should be read to apply to the
                                                                          2   subsidiaries.    Id.; see also Manetti-Farrow, 858 F.2d at 511.
                                                                          3          Second, Sharp is wrong that its claims do not relate to the
                                                                          4   BTA.   Sharp correctly states that the term "related to" must
                                                                          5   involve the agreement itself to trigger a forum-selection clause
                                                                          6   governing litigation related to a contract.         See Opp'n at 7-8
                                                                          7   (citing cases).    But Sharp is wrong that the BTA governs only
                                                                          8   Japanese transactions, and that the Purchase Orders it cites, see
                                                                          9   id. Attach. 1, Ex. A ("PO"), are the real governing agreements (or
                                                                         10   that they are inconsistent with the BTA and should override it).
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                                                                         11   On Sharp's first point, the BTA is not so limited.          It clearly
                                                                         12   states that it establishes "the basic terms and agreements related
                                                                         13   to the manufacture and supply of goods."        BTA Preamble.       Further,
                                                                         14   it also governs "individual Agreements," which are "established
                                                                         15   upon the delivery of the purchase order describing the details of
                                                                         16   [transactions related to the parties' goods] by Party A and upon
                                                                         17   delivery of the order confirmation by Party B."          BTA Art. 2.    The
                                                                         18   Court finds that orders like Sharp's PO are related to the BTA by
                                                                         19   the contract's terms themselves.
                                                                         20          In such a case, the forum-selection clause of the master
                                                                         21   agreement could be limited in application if it were true -- as
                                                                         22   Sharp argues -- that the secondary agreement contained an
                                                                         23   integration clause that foreclosed the master agreement's
                                                                         24   application, or perhaps if the two contracts were inconsistent.
                                                                         25   See Sharp Opp'n at 8 (citing PO ¶¶ 3 (integration clause), 5
                                                                         26   (inspection provisions), 6 (indemnity provisions), 11 (transfer of
                                                                         27   rights and obligations provisions), 13 (choice of law provisions)).
                                                                         28   However, the BTA and PO are not exclusive: Article 2 of the BTA



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                                                                          1   states that the BTA covers individual Agreements, and none of the
                                                                          2   provisions of the PO is a forum-selection clause.          The PO includes
                                                                          3   an integration clause reading, "This Order shall constitute the
                                                                          4   entire agreement between the Seller and the Buyer and no other
                                                                          5   understanding shall limit modify or vary its terms [sic] unless
                                                                          6   reduced to writing."     PO ¶ 3.   This does not preclude application
                                                                          7   of the BTA's forum-selection clause because the PO includes no such
                                                                          8   term -- it includes a choice of law provision, but choice-of-law
                                                                          9   provisions are distinct from forum-selection clauses.           See
                                                                         10   Hartstein v. Rembrandt IP Solutions, LLC, No. 12-2270 SC, 2012 WL
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                                                                         11   3075084, at *6 (N.D. Cal. July 30, 2012) (quoting Besag v. Custom
                                                                         12   Decorators, Inc., No. 08-05463 JSW, 2009 WL 330934, at *4 (N.D.
                                                                         13   Cal. Feb. 10, 2009)).
                                                                         14        In any event, Sharp's claims are based partly on its corporate
                                                                         15   relationship with Sharp Corporation, a party to the BTA.            See FAC
                                                                         16   ¶¶ 22-23.   And as the parties discuss in their supplemental briefs,
                                                                         17   filed under seal, the Sharp Plaintiffs' purchases that form the
                                                                         18   basis of their antitrust claims against Toshiba were made from
                                                                         19   Sharp Corporation.     The Court therefore finds that Sharp's claims
                                                                         20   relate to and have their genesis in the BTA between Sharp
                                                                         21   Corporation and Tokyo Shibaura.
                                                                         22        Finally, the Court finds that enforcing the BTA's forum-
                                                                         23   selection clause would not violate public policy.          Sharp first
                                                                         24   contends that the Osaka District Court would lack jurisdiction over
                                                                         25   the antitrust claims at issue in this case, because the Japanese
                                                                         26   court would hold the forum-selection clause applicable only to the
                                                                         27   parent corporations, not to the subsidiaries and affiliates.            See
                                                                         28   Opp'n at 12-13 (citing Opp'n Attach. 3 ("Yamamoto Decl.") ¶¶ 3-5).



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                                                                          1   Sharp's declarant, a Japanese attorney, states that he is unaware
                                                                          2   of cases in which Japanese courts have applied forum-selection
                                                                          3   clauses to non-signatories, including subsidiaries or affiliates.
                                                                          4   Yamamoto Decl. ¶ 5.     The Court finds this argument insufficient: it
                                                                          5   does not suggest that the Japanese court would not actually have
                                                                          6   jurisdiction over the parties or that the parties are without
                                                                          7   recourse in the forum-selection clause's designated court.          It only
                                                                          8   states that the Japanese Court might not hear the parties' United
                                                                          9   States antitrust claims, an argument the Ninth Circuit has rejected
                                                                         10   on the grounds that foreign fora's remedies need not be identical
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                                                                         11   to those in the United States.       See Simula, Inc. v. Autoliv, Inc.,
                                                                         12   175 F.3d 716, 723 (9th Cir. 1999).        The standard here is whether
                                                                         13   the transferee court's law would be so deficient that plaintiffs
                                                                         14   would be deprived of "any reasonable recourse," and the Court does
                                                                         15   not find that Sharp's argument or declaration meets that standard.
                                                                         16   Richard's v. Lloyd's of London, 135 F.3d 1289, 1295 (9th Cir. 1988)
                                                                         17   (en banc).   Sharp never argues that Sharp Corporation, the parent,
                                                                         18   would be deprived of the ability to sue on behalf of its
                                                                         19   subsidiaries or affiliates.
                                                                         20        Likewise, Sharp's argument that the Japanese court would not
                                                                         21   permit treble damages is deficient.       As noted, the Ninth Circuit's
                                                                         22   standard is not that remedies must be identical -- rather, the
                                                                         23   plaintiff must lack any reasonable recourse.         Id.   Mr. Yamamoto
                                                                         24   states that plaintiffs can recover only actual damages, not
                                                                         25   punitive damages.    Yamamoto Decl. ¶ 6.      The Court does not find
                                                                         26   this sufficient to render application of the forum-selection clause
                                                                         27   contrary to public policy.      Simula, 175 F.3d at 723.      Sharp cites a
                                                                         28   statement from Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth,



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                                                                          1   Inc., 473 U.S. 614 (1985), as support here: " [I]n the event the
                                                                          2   choice-of-forum and choice-of-law clauses operated in tandem as a
                                                                          3   prospective waiver of a party's right to pursue statutory remedies
                                                                          4   for antitrust violations, we would have little hesitation in
                                                                          5   condemning the agreement as against public policy."          Id. at 637
                                                                          6   n.19.    The Ninth Circuit has repeatedly held that this footnote is
                                                                          7   non-binding dicta.    Simula, 175 F.3d at 723 (citing Richards, 135
                                                                          8   F.3d at 1295); Meras, 2013 WL 146341, at *14.         The proper standard
                                                                          9   remains whether a plaintiff is deprived of reasonable recourse, and
                                                                         10   as above, the Court finds that Sharp has not demonstrated such a
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                                                                         11   lack here: despite the unavailability of treble damages, Sharp
                                                                         12   maintains that actual damages could be available to it, which does
                                                                         13   not evince a lack of reasonable recourse in the Japanese court
                                                                         14   system.    See Richards, 135 F.3d at 1296.
                                                                         15
                                                                         16 IV.       CONCLUSION
                                                                         17           As explained above, the Toshiba Defendants' motion to dismiss
                                                                         18   the Sharp Plaintiffs' first amended complaint is GRANTED.           The
                                                                         19   complaint is DISMISSED WITH PREJUDICE.
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                                                                         21           IT IS SO ORDERED.
                                                                         22
                                                                         23           Dated: March 13, 2014
                                                                         24                                             UNITED STATES DISTRICT JUDGE
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